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                              UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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11   ESMERALDA SERVIN, an                      Case No. 2:20-cv-07131 MCS (Ex)
                                               (Assigned for all purposes to the Hon.
     individual;                               Mark C. Scarsi)
12
                 Plaintiff,
13                                             [PROPOSED] ORDER RE: JOINT
           vs.                                 STIPULATION TO DISMISS
14                                             DEFENDANT RCAPITAL
                                               PARTNERS LLP
15   SPLASH NEWS AND PICTURE
16   AGENCY, LLC, a Nevada limited
     liability corporation; RCAPITAL           Complaint Filed:      June 18, 2020
17   PARTNERS LLP, a limited
18   liability partnership; and DOES 1
     through 50, inclusive;
19
                 Defendants.
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23         Plaintiff ESMERALDA SERVIN (“Plaintiff”) and Defendants SPLASH

24   NEWS AND PICTURE AGENCY, LLC, AND RCAPITAL PARTNERS LLP

25   (“Defendants”) (collectively, the “Parties”) submitted a Joint Stipulation Dismissing

26   Defendant RCAPITAL PARTNERS LLP without prejudice.

27         The Court, having read and considered the Parties’ Joint Stipulation Dismissing

28   RCAPITAL PARTNERS LLP without prejudice, and good cause appearing therefore,

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 1        IT IS HEREBY ORDERED THAT:
 2           1. Defendant RCAPITAL PARTNERS LLP is dismissed without prejudice.
 3   IT IS SO ORDERED.
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 5   Dated: November 17, 2020
 6                                             MARK C. SCARSI
                                               UNITED STATES DISTRICT JUDGE
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